                            Case 6:20-cv-00077-BKE Document 10 Filed 09/25/20 Page 1 of 1

         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.10/03)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                 Southern District of Georgia
                  MAREIO ANTONIO BELL,

                                         Plaintiff,
                                                                                   JUDGMENT IN A CIVIL CASE


                                            V.                                   CASE NUMBER:        CV 620-077

                  WARDEN; DEPUTY WARDENS; and
                  ADMINISTRATION of GEORGIA STATE PRISON,

                                        Defendants.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, pursuant to the Order dated September 25, 2020, Plaintiff's request to proceed in forma

                    pauperis is DENIED and this action is DISMISSED without prejudice; therefore, Plaintiff's motions

                    for Temporary Restraining Order, Immediate Order for Medical Care and Motion to set Complaint

                    as moot are DENIED as moot. This case stands CLOSED.




            09/25/2020                                                         John E. Triplett, Acting Clerk
           Date                                                                Clerk
                                                                                lerk



                                                                               (By)
                                                                                By) Deputy Clerk
GAS Rev 10/1/03
